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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF GEORGIA
                              ATHENS DIVISION

JAMES DORSEY,                       :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :     Case No. 3:21-CV-00078-CAR-CHW
                                    :
CAPTAIN CLAY, et al,                :
                                    :
                  Defendants.       :
___________________________________ :

               ORDER ON RECOMMENDATION OF THE UNITED STATES
                           MAGISTRATE JUDGE

      Before the Court is the United States Magistrate Judge’s Order and

Recommendation [Doc. 14]. The Magistrate Judge ordered Plaintiff to recast his

complaint and denied Plaintiff’s motions to amend or supplement his complaint 1 and

motion for an extension of time 2 as moot. Additionally, the Magistrate Judge

recommends that Plaintiff’s motion for contempt 3 and requests for prison staff to




      1 Docs. 4, 5, 7.
      2 Doc. 9.
      3 Doc. 11.


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notarize or certify documents 4 be denied as moot, and that his motion for a preliminary

injunction concerning his medical care 5 be denied.

          Plaintiff has not objected to the Recommendation, and the time in which to do

so has expired. Having considered the Order and Recommendation, the Court agrees

with the findings and conclusions of the United States Magistrate Judge. The Order and

Recommendation [Doc. 14] is therefore ADOPTED and MADE THE ORDER OF THE

COURT. Plaintiff’s motion for contempt and requests for prison staff to notarize or

certify documents are DENIED as moot. Plaintiff’s motion for a preliminary injunction

concerning his medical care is DENIED.

   SO ORDERED, this 22nd day of September, 2021.

                                          s/ C. Ashely Royal_________________
                                          C. ASHLEY ROYAL, SENIOR JUDGE
                                          UNITED STATES DISTRICT COURT




      4   Doc. 7.
      5   Doc. 6.
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